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                                                                             FILED: July 26, 2024

                                 UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT

                                          ___________________

                                                No. 24-1447
                                           (8:22-cv-02597-DKC)
                                          ___________________

        MARYLAND CHAPTER OF THE SIERRA CLUB, part of Sierra Club, Inc.; NATIONAL
        TRUST FOR HISTORIC PRESERVATION IN THE UNITED STATES; NATURAL
        RESOURCES DEFENSE COUNCIL, INCORPORATED

                    Plaintiffs - Appellants

         and

        FRIENDS OF MOSES HALL; NORTHERN VIRGINIA CITIZENS ASSOCIATION

                    Plaintiffs

        v.

        FEDERAL HIGHWAY ADMINISTRATION; SHAILEN BHATT, in his official capacity
        as Acting Administrator of the Federal Highway Administration; VALERIYA
        RAMEZOVA, in her official capacity as Maryland Division Administrator of the Federal
        Highway Administration; MARYLAND DEPARTMENT OF TRANSPORTATION;
        PAUL J. WIEDEFELD, in his official capacity as Secretary of the Maryland Department of
        Transportation

                    Defendants - Appellees

                                          ___________________

                                               ORDER
                                          ___________________

               The court grants the motion to withdraw from further representation on appeal.

                                                 For the Court--By Direction

                                                 /s/ Nwamaka Anowi, Clerk
